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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division


STEVES AND SONS, INC.,

      Plaintiff,

V.                                           Civil Action No. 3:20-cv-98


JELD-WEN, INC.,

      Defendant.




                                    ORDER


      The parties having advised the Court that they have settled

this action and resolved the issues underlying PLAINTIFF STEVES

AND SONS, INC.'S MOTION FOR FURTHER RELIEF UNDER 28 U.S.C. § 2202

(EOF No. 2043) in the related action, Steves and Sons, Inc. v.

JELD-WEN, Inc., 3:16-cv-545, and the parties having represented

that they shall submit their stipulation of dismissal by June 18,

2020, it is hereby ORDERED that:

      (1)   DEFENDANT JELD-WEN, INC.'S MOTION TO DISMISS COUNTS ONE

AND   TWO   OF   PLAINTIFF    STEVES   AND    SONS,   INC.'S    FIRST   AMENDED

COMPLAINT FOR FAILURE TO STATE A CLAIM (ECF No. 144) is DENIED as

moot; and


      (2)   The UNOPPOSED MOTION TO REFUND CASH BOND (ECF No. 263)

is GRANTED.      The $1 million cash bond posted as security for the

preliminary      injunction   and   recorded     under   Cash   Receipt    CQC-

VAEDCLERK20-00012 shall be refunded to Steves and Sons, Inc. by
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